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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

        Civil Action No. 19-cv-00874-MSK-MEH

        WARNER BROS. RECORDS INC.,
        ATLANTIC RECORDING CORPORATION,
        BAD BOY RECORDS LLC,
        ELEKTRA ENTERTAINMENT GROUP INC.,
        FUELED BY RAMEN LLC,
        NONESUCH RECORDS INC.,
        ROADRUNNER RECORDS, INC.,
        WEA INTERNATIONAL INC.,
        WARNER/CHAPPELL MUSIC, INC.,
        WARNER-TAMERLANE PUBLISHING CORP.,
        WB MUSIC CORP.,
        W.B.M. MUSIC CORP.,
        UNICHAPPELL MUSIC INC.,
        RIGHTSONG MUSIC INC.,
        COTILLION MUSIC, INC.,
        INTERSONG U.S.A., INC.,
        SONY MUSIC ENTERTAINMENT,
        ARISTA MUSIC,
        ARISTA RECORDS LLC,
        LAFACE RECORDS LLC,
        PROVIDENT LABEL GROUP, LLC,
        SONY MUSIC ENTERTAINMENT US LATIN,
        VOLCANO ENTERTAINMENT III, LLC,
        ZOMBA RECORDINGS LLC,
        SONY/ATV MUSIC PUBLISHING LLC,
        EMI AL GALLICO MUSIC CORP.,
        EMI ALGEE MUSIC CORP.,
        EMI APRIL MUSIC INC.,
        EMI BLACKWOOD MUSIC INC.,
        COLGEMS-EMI MUSIC INC.,
        EMI CONSORTIUM MUSIC PUBLISHING INC. d/b/a EMI FULL KEEL MUSIC,
        EMI CONSORTIUM SONGS, INC., individually and d/b/a EMI LONGITUDE MUSIC,
        EMI ENTERTAINMENT WORLD INC. d/b/a EMI FORAY MUSIC,
        EMI JEMAXAL MUSIC INC.,
        EMI FEIST CATALOG INC.,
        EMI MILLER CATALOG INC.,
        EMI MILLS MUSIC, INC.,
        EMI UNART CATALOG INC.,
        EMI U CATALOG INC.,
        JOBETE MUSIC CO. INC.,
        STONE AGATE MUSIC,
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          SCREEN GEMS-EMI MUSIC INC.,
          STONE DIAMOND MUSIC CORP.,
          UMG RECORDINGS, INC.,
          CAPITOL RECORDS, LLC,
          UNIVERSAL MUSIC CORP.,
          UNIVERSAL MUSIC – MGB NA LLC,
          UNIVERSAL MUSIC PUBLISHING INC.,
          UNIVERSAL MUSIC PUBLISHING AB,
          UNIVERSAL MUSIC PUBLISHING LIMITED,
          UNIVERSAL MUSIC PUBLISHING MGB LIMITED,
          UNIVERSAL MUSIC – Z TUNES LLC,
          ISLAND MUSIC LIMITED,
          POLYGRAM PUBLISHING, INC., and
          SONGS OF UNIVERSAL, INC.,

                  Plaintiffs,

          v.

          CHARTER COMMUNICATIONS, INC.,

                  Defendant.


                                  JOINT SCHEDULING ORDER



            I.      DATE OF CONFERENCE AND APPEARANCES OF COUNSEL

          The Rule 16(f) Scheduling Conference in this matter was held on June 12, 2019. The

   parties are represented by the following counsel.

   Mitchell A. Kamin
   Neema T. Sahni
   Rebecca Van Tassell
   COVINGTON & BURLING LLP
   1999 Avenue of the Stars, Suite 3500
   Los Angeles, CA 90067-4643
   Telephone: (424) 332-4800
   mkamin@cov.com
   nsahni@cov.com
   rvantassell@cov.com



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   Jonathan M. Sperling
   COVINGTON & BURLING LLP
   The New York Times Building
   620 Eighth Avenue
   New York, NY 10018-1405
   Telephone: (212) 841-1000
   jsperling@cov.com
   jcharlesworth@cov.com

   Janette L. Ferguson, Esq.
   Benjamin M. Leoni, Esq.
   LEWIS BESS WILLIAMS & WEESE, P.C.
   1801 California Street, Suite 3400
   Denver, CO 80202
   Tel: (303) 861-2828
   Facsimile: (303) 861-4017
   jferguson@lewisbess.com
   bleoni@lewisbess.com

   Matthew J. Oppenheim
   Scott A. Zebrak
   Jeffrey M. Gould
   Kerry M. Mustico
   OPPENHEIM + ZEBRAK, LLP
   4530 Wisconsin Ave. NW, 5th Floor
   Washington, DC 20016
   Tel: (202) 621-9027
   matt@oandzlaw.com
   scott@oandzlaw.com
   jeff@oandzlaw.com
   kerry@oandzlaw.com

   Attorneys for Plaintiffs

   Michael S. Elkin
   Thomas Patrick Lane
   Seth E. Spitzer
   Stacey Foltz Stark
   WINSTON & STRAWN LLP
   200 Park Avenue
   New York, NY 10166
   Telephone: (212) 294-6700
   Fax: (212) 294-4700
   E-mail: melkin@winston.com
   E-mail: tlane@winston.com
   E-mail: sspitzer@winston.com



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   E-mail: sfstark@winston.com

   Jennifer A. Golinveaux
   WINSTON & STRAWN LLP
   101 California Street, 35th Floor
   San Francisco, CA 94111
   Telephone: (415) 591-1000
   Fax: (415) 591-1400
   E-mail: jgolinveaux@winston.com

   John M. Tanner
   Craig D. Joyce
   FAIRFIELD AND WOODS, P.C.
   1801 California Street, Suite 2600
   Denver, Colorado 80202
   Telephone: (303) 830-2400
   Fax: (303) 830-1033
   E-mail: jtanner@fwlaw.com
   E-mail: cjoyce@fwlaw.com

   Attorneys for Defendant Charter
   Communications, Inc.

                               II.   STATEMENT OF JURISDICTION

          This Court has original subject matter jurisdiction over Plaintiffs’ copyright infringement

   claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

                       III.      STATEMENT OF CLAIMS AND DEFENSES

          A.      Plaintiffs

          Defendant is contributorily and vicariously liable for the direct copyright infringements

   of its subscribers, who unlawfully reproduced and distributed via BitTorrent, or other peer-to-

   peer networks, thousands of sound recordings and musical compositions for which Plaintiffs are

   the legal or beneficial copyright owners or exclusive licensees.

          Defendant is contributorily liable for such infringements because it had knowledge that

   its network was being used for infringement of Plaintiffs’ copyrighted works, and also knew of




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   specific subscribers engaged in such repeated and flagrant infringement, but nevertheless

   facilitated, encouraged, and materially contributed to such infringement by continuing to provide

   its network and facilities necessary for its subscribers to commit repeated infringements.

   Defendant had the means to withhold that assistance upon learning of specific infringing activity

   by specific users but failed to do so.

          Defendant is vicariously liable for such infringements because it had the legal and

   practical right and ability to supervise and control the infringing activities that occur through the

   use of its network, and at all relevant times has had a financial interest in, and derived direct

   financial benefit from, the infringing use of its network.

          B.      Defendant

          Plaintiffs will be unable to establish either theory of secondary liability, which require

   separate elements of proof. As a threshold matter, both claims will fail because Plaintiffs cannot

   show any underlying direct infringement, which is a prerequisite under either theory. Plaintiffs’

   claims are also barred because Defendant qualifies for “safe harbor” under the Digital

   Millennium Copyright Act § 512(a).

          Plaintiffs’ claim for contributory infringement will fail for the independent reasons that

   the notices on which Plaintiffs’ rely cite only allegations of infringement, and Defendant lacks

   the requisite intent. Plaintiffs’ claim for vicarious infringement will fail because Plaintiffs will

   be unable to establish that Defendant has directly enjoyed a financial benefit from the allegedly

   infringing activity or has the ability to control subscribers’ allegedly infringing activity.

   Specifically, Plaintiffs cannot prove that subscribers’ allegedly infringing activity acts as a draw

   for subscribers to purchase Defendant’s internet access service. Nor can Plaintiffs prove that

   Defendant maintains the right and ability to stop users from engaging in infringing activity as


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   Defendant cannot monitor and control its subscribers’ use of the internet, and because

   Defendant’s ability to terminate subscribers altogether does not stop the alleged infringement.

                                    IV.     UNDISPUTED FACTS

          There are no undisputed facts the parties are able to stipulate to at this time.

                              V.       COMPUTATION OF DAMAGES

          A precise computation of damages is premature at this point, because a significant

   amount of information bearing on the subject of damages—such as the extent of Defendant’s

   alleged infringements, the willfulness of the alleged infringements, the financial benefits and

   profits received by Defendant in connection with the alleged infringements, and the value of the

   recordings at issue—is in the possession, custody, or control of Defendant or will otherwise be

   developed during the discovery process.

    VI.    REPORT OF PRECONFERENCE DISCOVERY AND MEETING UNDER FED.
                                 R. CIV. P. 26(F)

          A.      Date of Rule 26(f) meeting

          The parties conferred via teleconference on May 16, 2019 at 12:00 p.m. Pacific / 3:00

   p.m. Eastern time.

          B.      Names of each participant

          The participants in the Rule 26(f) conference were Mitchell Kamin, Neema Sahni, and

   Matt Oppenheim for Plaintiffs, and Seth E. Spitzer, Stacey Foltz Stark, Jennifer A. Golinveaux,

   John J. Rosenthal, and John M. Tanner for Defendants.

          C.      Statement as to when Rule 26(a)(1) disclosures were made or will be made.

          The parties will make Rule 26(a)(1) disclosures on or before June 6, 2019, in accordance

   with Fed. R. Civ. P. 26(a)(1)(C).




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           D.       Proposed changes, if any, in timing or requirement of disclosures under Fed.
                    R. Civ. P. 26(a)(1).

           The parties have stipulated to June 6, 2019 as the date for the mutual exchange of

   disclosures under Fed. R. Civ. P. 26(a)(1).

           E.       Statement concerning any agreements to conduct informal discovery.

           The parties do not believe that any informal discovery is necessary or appropriate at this

   time.

           F.       Statement concerning any other agreements or procedures to reduce
                    discovery and other litigation costs, including the use of a unified exhibit
                    numbering system.

           In order to reduce the costs of litigation, the parties agree to the following:

                •   Where practicable and appropriate, counsel may attend depositions telephonically

                    or via VTC.

                •   If the parties deem it practicable, they may transmit productions via FTP or post

                    documents to a joint repository.

                •   Counsel will use the exhibit numbering systems set forth in the District and

                    Magistrate Judge’s practice standards.

           The parties will continue to consider whether additional agreements may reduce the cost

   of litigation.

           G.       Statement as to whether the parties anticipate that their claims or defenses
                    will involve extensive electronically stored information, or that a substantial
                    amount of disclosure or discovery will involve information or records
                    maintained in electronic form.

           The parties anticipate that their claims or defenses will involve extensive electronically

   stored information, and that a substantial amount of disclosure or discovery will involve

   information or records maintained in electronic form.


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           The parties have instituted electronic litigation holds in order to preserve electronically

   stored information. To facilitate discovery of electronically stored information, limit the

   associated discovery costs and delay, avoid discovery disputes relating to electronic discovery,

   and address claims of privilege or protection, the parties have agreed to expeditiously meet and

   confer in order to come to agreement on a joint Electronically Stored Information Protocol, and

   to consider a process for exchanging search terms and custodian lists, as well as a mutually

   acceptable format for production of electronic or computer-based information.

           H.      Statement summarizing the parties’ discussions regarding the possibilities
                   for promptly settling or resolving the case.

           The parties believe that the likelihood of a prompt settlement or resolution of the case in

   the near future is low, but remain willing to engage in alternative dispute resolution if it appears

   further into the litigation that such a process would be productive.

                                             VII.       CONSENT

           All parties have not consented to the exercise of jurisdiction of a magistrate judge.

                                 VIII. DISCOVERY LIMITATIONS

           A.      Modifications which any party proposes to the presumptive numbers of
                   depositions or interrogatories contained in the Federal Rules.

           The parties believe that modifications to the presumptive number of depositions will be

   necessary, and agree instead to a limitation of 20 depositions per side, inclusive of both fact

   (party and non-party) and expert depositions. A deposition under Fed. R. Civ. P. 30(b)(6) shall

   count as a single deposition, regardless of whether the receiving party designates more than one

   witness to testify as to the topics in the notice.

           The parties do not believe that any modification to the presumptive number of

   interrogatories contained in the Federal Rules will be necessary.



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           B.       Limitations which any party proposes on the length of depositions.

           The parties agree that no limitations to the length of depositions, other than those

   imposed by the Federal Rules, are necessary.

           C.       Limitations which any party proposes on the number of requests for
                    production and/or requests for admission.

           The parties agree they should be limited to a total of 100 Requests for Production and 25

   Requests for Admission per side.

           D.       Other Planning or Discovery Orders

           The parties agree to the following procedures in order to avoid discovery disputes and to

   reduce the costs of litigation.

                •   Any party that receives documents from a non-party subpoena shall make those

                    documents available to all other parties.

                •   For all motions and filings, the parties agree to rely on automated CM/ECF

                    notifications for service. For service of discovery documents not filed through

                    CM/ECF, the parties agree to accept service by email.

                •   The parties agree to exchange Word copies of all discovery requests upon request.

                •   The parties agree to confer on the terms of an appropriate protective order to

                    protect confidential, sensitive, and/or proprietary information, and will file a joint

                    motion for such an order on or before June 12, 2019.

           Before filing a motion for an order relating to a discovery dispute, the movant must

   request a conference with the Court by submitting an email, copied to all parties, to

   hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015 Amendment.




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                               IX.     CASE PLAN AND SCHEDULE

          A.      Deadline for Joinder of Parties and Amendment of Pleadings

          The deadline to join parties and amend pleadings shall be Friday, November 1, 2019.

          Notwithstanding the foregoing deadline, Plaintiffs may file amended versions of Exhibit

   A (list of sound recordings at issue) and/or Exhibit B (list of compositions at issue) to the

   Complaint on or before Wednesday, January 15, 2020 to conform those exhibits to information

   learned in discovery.

          B.      Discovery Cut-off

          The deadline to complete fact discovery shall be Tuesday, March 31, 2020. The

   deadline for the completion of expert discovery shall be Friday, May 15, 2020.

          C.      Dispositive Motion Deadline

          The deadline by which to file dispositive motions shall be Thursday, June 11, 2020.

          D.      Expert Witness Disclosure

          The parties anticipate using experts regarding copyright infringement, infringement

   notices, systems for identifying and terminating repeat copyright infringers, and financial

   experts.

          The parties do not propose any particular limitations on the use or number of expert

   witnesses at this time.

          The last day on which the parties may designate experts (including the disclosure of

   expert opinions, facts and data considered, exhibits, etc.) shall be Friday, March 13, 2020.

          The deadline by which the parties shall designate rebuttal experts shall be Monday,

   April 13, 2020.




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            E.       Identification of Persons to Be Deposed

            The parties are presently unable to list the names of persons to be deposed, as the parties

   have only recently exchanged Initial Disclosures.

            F.       Deadline for Interrogatories

            The last day on which the parties may serve written discovery requests, including

   Interrogatories, shall be Wednesday, February 26, 2020.

            G.       Deadline for Requests for Production of Documents and/or Admissions

            The last day on which the parties may serve written discovery requests, including

   Requests for Production and Requests for Admissions, shall be Wednesday, February 26, 2020.

                             X.         DATES FOR FURTHER CONFERENCES

            A.       Status conferences will be held in this case at the following dates and times:

            B.       A final pretrial conference will be held in this case by Judge Krieger.

                                  XI.     OTHER SCHEDULING MATTERS

            The parties were able to reach an agreement on all discovery and scheduling issues.

            The parties anticipate the need for a 15-day jury trial.

            The parties do not believe that any pre-trial proceedings would be more efficiently or

   economically conducted in Colorado Springs, Grand Junction, or Durango. Because the judges

   are located in Denver, and most counsel will be traveling from out of state, the parties believe all

   pretrial proceedings should be conducted in Denver.

                                  XII. NOTICE TO COUNSEL AND PRO SE PARTIES

            The parties filing motions for extension of time or continuances must comply with

   D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served upon the moving

   attorney's client, all attorneys of record, and all pro se parties.



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           Counsel will be expected to be familiar and to comply with the Pretrial and Trial Procedures or

    Practice Standards established by the judicial officer presiding over the trial of this case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

           Counsel and unrepresented parties are reminded that any change of contact information

    must be reported and filed with the Court pursuant to the applicable local rule.

                                 XIII. AMENDMENTS TO SCHEDULING ORDER

            The Scheduling Order may be altered or amended only on a showing of good cause.


            DATED at Denver, Colorado, this 12th day of June, 2019.

                                                               BY THE COURT:



                                                                s/Michael E. Hegarty
                                                               United States Magistrate Judge
           APPROVED:

                                                           By: /s/ Mitchell A. Kamin

                                                           Mitchell A. Kamin
                                                           Neema T. Sahni
                                                           Rebecca Van Tassell
                                                           COVINGTON & BURLING LLP
                                                           1999 Avenue of the Stars, Suite 3500
                                                           Los Angeles, CA 90067-4643
                                                           Telephone: (424) 332-4800
                                                           mkamin@cov.com
                                                           nsahni@cov.com
                                                           rvantassell@cov.com

                                                           Jonathan M. Sperling
                                                           COVINGTON & BURLING LLP
                                                           The New York Times Building
                                                           620 Eighth Avenue
                                                           New York, NY 10018-1405
                                                           Telephone: (212) 841-1000
                                                           jsperling@cov.com


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                                        jcharlesworth@cov.com

                                        Janette L. Ferguson, Esq.
                                        Benjamin M. Leoni, Esq.
                                        LEWIS BESS WILLIAMS & WEESE, P.C.
                                        1801 California Street, Suite 3400
                                        Denver, CO 80202
                                        Tel: (303) 861-2828
                                        Facsimile: (303) 861-4017
                                        jferguson@lewisbess.com
                                        bleoni@lewisbess.com

                                        Matthew J. Oppenheim
                                        Scott A. Zebrak
                                        Jeffrey M. Gould
                                        Kerry M. Mustico
                                        OPPENHEIM + ZEBRAK, LLP
                                        4530 Wisconsin Ave. NW, 5th Floor
                                        Washington, DC 20016
                                        Tel: (202) 621-9027
                                        matt@oandzlaw.com
                                        scott@oandzlaw.com
                                        jeff@oandzlaw.com
                                        kerry@oandzlaw.com

                                        Attorneys for Plaintiffs


                                        By: /s/ Craig D. Joyce

                                        Craig D. Joyce
                                        John M. Tanner
                                        FAIRFIELD AND WOODS, P.C.
                                        1801 California Street, Suite 2600
                                        Denver, Colorado 80202
                                        Phone: 303.830.2400
                                        Fax: 303.830.1033
                                        E-mail: cjoyce@fwlaw.com
                                        E-mail: jtanner@fwlaw.com

                                        Michael S. Elkin
                                        Thomas Patrick Lane
                                        Seth E. Spitzer
                                        Stacey Foltz Stark
                                        WINSTON & STRAWN LLP
                                        200 Park Avenue



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                                        New York, New York 10166-4193
                                        Phone: 212.294.6700
                                        Fax: 212.294.4700
                                        E-mail: melkin@winston.com
                                        E-mail: tlane@winston.com
                                        E-mail: sspitzer@winston.com
                                        E-mail: sfstark@winston.com

                                        Jennifer A. Golinveaux
                                        WINSTON & STRAWN LLP
                                        101 California Street
                                        San Francisco, California 94111
                                        Phone: 415.591.1000
                                        Fax: 415.591.1400
                                        E-mail: jgolinveaux@winston.com

                                        Attorneys for Defendant
                                        Charter Communications, Inc.




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